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Case 2:05-cv-00848-BES-LRL Document 1-2 Filed 07/12/05 Page 1 of 25

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i. Scholarships on the basis of merit or need are available to qualified parties.

REBUTTAL: ST. MATTHEW ’s offers three academic scholarships annually with
a total value of $10,000 each. ST. MATTHEW’'s also offers one Caymanian
scholarship annually to a worthy, qualified Caymanian. That scholarship is worth a
total of $45,000.

738. Under AAIMG’s criteria labeled “Section VII. Legal/Other,” AAIMG cites the
following category as “deficient”:
c. Each school is evaluated for a history of failing to return tuition or deposits
in a timely manner.

REBUTTAL: ST. MATTHEW ’s returns tuition or deposits absolutely according
to its catalog requirements. It is clearly stated in ST. MATTHEW ’'s catalog, and is
required of ST. MATTHEW’s license issued by the Commission for Independent
Education in the state of Florida, that all refunds will be made within 30 days of
request. ST. MATTHEW’s is not aware of a single case when a refund was later than
the 30 days allowed.

79. | AAIMG makes the additional, false statements regarding ST. MATTHEW's:
a. AAIMG states that ST. MATTHEW’s is located in Ambergris Caye, Belize,
Central America.

REBUTTAL: ST. MATTHEW ’s is based in Grand Cayman, Cayman Islands,
British West Indies.

b. This school has experienced serious internal management problems with
both high faculty and administrative turnover.

REBUTTAL: More than three years ago ST. MATTHEW’s replaced its
president, his wife, and an accountant, prior to ST. MATTHEW’s move from Belize to
the Cayman Islands; however, ST. MATTHEW 's retained all of its U.S. management
and a large number of its faculty and staff through the move.

c. Relocation of basic science campus last year to a rented office building in

the Cayman Islands provides only the most basic classroom facilities.

% COMPLAINT

 
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REBUTTAL: This statement is completely inaccurate. ST. MATTHEW’s has
2° 000 square feet of leased space, which is a three story building totally occupied by
ST. MATTHEWS, and renovated to meet its specific needs, including being
completely wired for high-speed internet access. As stated above, ST. MATTHEWS
has also purchased a second residence hall, which gives it housing for 255 students
on five acres of land, on which it will be building its new permanent campus.

d. The labs and library remain inadequate; plastinated parts are used in
anatomy instead of cadavers.

REBUTTAL: ST. MATTHEW’s labs are fully-equipped and state-of-the-art. As
stated above, ST. MATTHEW/s, like almost half of U.S. medical schools, provides
plastinated cadavers in its anatomy classes, which provide for more detailed
anatomical study.

e. School is very decentralized and the Maine campus at a small remote college
still lacks proper structure for a basic science instruction.

REBUTTAL: ST. MATTHEW ’s has its own private facilities in Maine, with
excellent faculty and administrators, and a strong clinical skills program. AAIMG's
implies that ST. MATTHEW's is located at St. Joseph’s College campus, which is
untrue.

f. Portion of instruction done in USA may create licensing problems, although
this school is still too new for many test cases. Possible licensing issues are
still not realistically addressed by the school.

REBUTTAL: All student credits are listed on the Grand Cayman transcript.
including those completed on the Maine campus — thus this is not an issue in regards
to licensing.

g. School takes significant amount of transfer students and failures from other
medical schools.

REBUTTAL: ST. MATTHEW ’s accepts a small percentage of transfer students

from other accredited medical schools, as do all of the Caribbean schools and mast

7 COMPLAINT

 
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80.

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medical schools around the world.
h. Web site is misleading as to facility and actual onsite fulltime faculty.

REBUTTAL: As stated above, ST. MATTHEW ’s accurately lists and identifies
all of its faculty members on its website, including accurate photographs and
credentials. All of ST. MATTHEW’s faculty members are full-time with a few
exceptions of local practicing physicians who teach portions of the clinical skills
program.

i. Clerkship program is loosely organized.

REBUTTAL: ST. MATTHEW 's clerkship program is tightly organized. ST.
MATTHEW’s has a Clinical Dean, who in turn has five Clinical Chiefs (one for each
specialty) under him. Clinical chiefs oversee the Preceptors (teaching physicians) in
ST. MATTHEW ’s affiliated teaching hospitals. ST. MATTHEW 's additionally has
Clinical Coordinators that assign students to rotations and monitor their placement
and progress. ST. MATTHEW ’s gives the NBME Shelf Exams following each core
rctation. Each student must complete a daily log, which is submitted to the Clinical
Dean for review and grading. ST. MATTHEW 's accrediting body, the Accreditation
Commission on Colleges of Medicine, is approved by the U.S. Department of
Education’s National Committee on Foreign Medical Education and Accreditation, and
this body oversees ST. MATTHEW ’s clinical clerkship programs and has approved its
program.

INJURY TO ST. MATTHEW’S
ST. MATTHEW 's has been grievously and irreparably injured as a result of

AAIMG’s, and AAIMG’s agents’ and representatives’, unlawful and unethical conduct,

including, but not limited to:

« damage to reputation;
« loss of applicants and student enrollment — past, present and future;

« interference with accreditation proceedings; and

denials of residency placements for ST. MATTHEW’s hard-working medical

28 COMPLAINT

 
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graduates.
The forgoing injuries are of such a nature and to such a degree that ST. MATTHEW ’s has
no adequate remedy at law.
81. Such contemptible acts and practices on the part of the Defendants call for the
maximum amount of exemplary damages awardable.
FIRST CLAIM FOR RELIEF
Defamation

(As to All Defendants)

| 82. Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1
| through 81 of this Complaint.

| 83. Defendants’ actions as described above constitute defamation, in that:

84. Defendants have made false statements regarding Plaintiff ST. MATTHEW’s,
ident fied and rebutted in detail in the above paragraphs 68 through 78, incorporated
herein by reference as though listed here;

85. Defendants’ statements constitute defamation per se, in that they defame Plaintiff
in its trade:

86. Defendants knew or should have known that the statements published were false;
87. Defendants published these statements to various third parties without privilege;
88. Asa proximate result of the foregoing acts, these Defendants have caused actual
harm and are liable to Plaintiffs for damages in an amount to be proven at trial.

89. Defendants have engaged in conduct of an oppressive, fraudulent, and malicious
nature, thereby entitling Plaintiffs to an award of punitive damages.

90. As a direct and proximate result of the actions, conduct, and practices of
Defendants alleged above, Plaintiff has been damaged and will continue to be damaged.

91. ‘Plaintiff has no adequate remedy at law.

29 COMPLAINT

 
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SECOND CLAIM FOR RELIEF
Fraud / Intentional Misrepresentation
(As To All Defendants)
92. Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1
through 91 of this Complaint.
93. The acts of Defendants as described above constitute fraud or intentional
misrepresentation, in that:
94. Defendants have made material misrepresentations and omissions as to the
nature and quality of Plaintiff ST. MATTHEW’s educational services, faculty, and facilities,
and as to the nature, acts, affiliations, and identities of Defendant AAIMG and individual
Defendants, as detailed above.
95. Said misrepresentations and omissions were made with the knowledge or belief
that the representations were false or without a sufficient basis for making the
representations at the time that such representations were made.
96. Defendants intended to induce third persons to act based upon these
representations and omissions, to the detriment of Plaintiff;
97. Third persons have justifiably relied upon such misrepresentations and omissions
by accepting the critical statements regarding Plaintiff as accurate and acting in
accordance thereto, including (but not limited to) choosing not to enroll with Plaintiff
school, or denying Plaintiffs graduates post-graduate placements, or denying certain
accreditations, all to the extreme detriment and injury of Plaintiff.
98. As a direct and proximate result of Defendants’ acts as alleged herein, Plaintiffs
have suffered and will continue to suffer damage to their business, goodwill, reputation
and profits in an amount to be determined at trial.
99. Defendants have engaged in conduct of an oppressive, fraudulent, and malicious
nature, thereby entitling Plaintiffs to an award of punitive damages.

100. Plaintiff has no adequate remedy at law.

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THIRD CLAIM FOR RELIEF

For Violations of Nevada R.S. § 598.0915 (Acts of Deceptive Trade Practice)

(As To All Defendants)

Plaintiff realleges and incorporates by reference paragraphs 1 through 100 of this

complaint as though set forth fully herein.

102.

By the acts described above, Defendants have engaged in unlawful and unfair

business practices and have conducted unfair, deceptive and misleading advertising

which has injured and threatens to continue to injure Plaintiff in its business and property.

Defendants’ conduct constitutes unfair business practices under Nevada R.S. § 598.0915

et seq., in that Defendants, as a non-exclusive list of examples:

103.

a. Knowingly make false representations as to affiliation, connection,
association with or certification by another person (N.R.S. § 598.0915(3));

b. Knowingly makes a false representation as to the characteristics,
ingredients, uses, benefits, alterations or quantities of goods or services for
sale or lease or a false representation as to the sponsorship, approval,
status, affiliation or connection of a person therewith (N.R.S. §
598.0915(5));

c. Represents that goods or services for sale or lease are of a particular
standard, quality or grade, or that such goods are of a particular style or
model, if he knows or should know that they are of another standard,
quality, grade, style or model (N.R.S. § 598.0915(7));

d. Disparages the goods, services or business of another person by false or
misleading representation of fact (N.R.S. § 598.0915(8)); and

e. Knowingly makes any other false representation in a transaction (N.R.S. §
598.0915(15)).

As a direct result of the foregoing acts and practices, Plaintiff has suffered, and

will continue to suffer, damages and irreparable harm.

104.

Plaintiff has no adequate remedy at law.

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FOURTH CLAIM FOR RELIEF
Federal Unfair Competition Comprising False and Misleading Statements of Fact
Under Section 43(a) of the Lanham Act, 15 USC §1125(a)
(As To All Defendants)
105. Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1
through 104 of this Complaint.
106. By engaging in the above-described activities, Defendants have made false and
misleading representations of fact as to their ownership of and associations, all in
violation of Section 43(a)(1)(B) of the Lanham Act, 15 USC §1125(a)(1)(B).
107. Asadirect and proximate result of the actions, conduct, and practices of
Defendants alleged above, Plaintiff has been damaged and will continue to be damaged.
108. Plaintiff has no adequate remedy at law.
FIFTH CLAIM FOR RELIEF
intentional Interference With Contractual Relations

(As To All Defendants)

109. Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1

through 108 of this Complaint.

110. The aforesaid acts of Defendants constitute common tortious interference with

| Plaintiff's existing contractual relations with existing students, prospective students,

graduates, and clinical residency providers, in that Defendants knew of these contractual
relations, and purposefully and intentionally acted to interfere with the performance or
existence of these contractual relations, or to induce others to do so, to the detriment of
Plaintiff.

111. As adirect and proximate result of Defendants’ acts, Plaintiff has suffered, and will
continue to suffer, damages and irreparable harm.

112. Plaintiff has no adequate remedy at law.

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SIXTH CLAIM FOR RELIEF
Intentional Interference With Prospective Economic Advantage
(As To All Defendants)

113. Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1
through 112 of this Complaint.
114. The aforesaid acts of Defendants constitute common tortious interference with
Plaintiff's prospective economic advantage with existing students, prospective students,
graduates, and clinical residency providers, in that Defendants acted purposefully and
intentionally to prevent the coming to fruition of potential economic advantages
Defendants knew to exist, with the intent of harming Plaintiff.
115. As adirect and proximate result of Defendants’ acts, Plaintiff nas suffered, and will
continue to suffer, damages and irreparable harm.
116. Plaintiff has no adequate remedy at law.

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this Court enter judgment in its favor on each

and every claim set forth above, and further prays an award to Plaintiff of:

1. Compensatory damages in an amount according to proof, but not less than
$15,000,000;

2. Punitive damages in an amount to be determined, but in no case less than treble
Plaintiffs damages or $45,000,000, whichever is greater;

3. A preliminary and permanent injunction ordering the taking down of AAIMG’s
website, and replacing it with a published copy of the judgment awarded Plaintiff in the
present case, and a public apology and retraction by those responsible for perpetration of
the acts upon which the awards are based;

4. Plaintiff's costs and attorneys’ fees in this action; and

5. Such other further relief to which Plaintiff may be entitled as a matter of law or

equity, or which the Court determines to be just and proper.

DATED: July 7, 2005. KRONENBERGER & ASSOCIATES

ap Col A. Ricmotery—

Karl S. Kronenberger

Terri R. Hanley

Attorneys for Plaintiff

ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD.

 

   

DATED: July \_, 2005. REENBERG TRAURIG, /)

 

Matk G. Tratos

F. Christopher nusin \

Ronald D. Green, wn \\

Designated Local Counsel for Plaintiff

ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD

34 COMPLAINT

 
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Case 2:05-cv-00848-BES-LRL Document 1-2 Filed 07/12/05 Page 10 of 25

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DEMAND FOR JURY TRIAL
Plaintiff ST. MATTHEW'S hereby demands a trial of this action by jury.

Dated: July 7, 2005 KRONENBERGER & ASSOCIATES

By: Lard A: Ricenwerg—
Karl S. Kronenberger

Terri R. Hanley
Attorneys for Plaintiff
ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD.

 

   

DATED: July \\_, 2005. NBERG ARAURIG, 5

 

Mark G. Tratos

F. Christopher Austin

Ronald D. Green, Jr.

Designated Local Counsel for A

ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD.

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COMPLAINT
Case 2:05-cv-00848-BES-LRL Document 1-2 Filed 07/12/05 Page 11 of 25

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Corporation Details - Secretary of State, Nevada

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ASSOCIATION OF AMERICAN INTERNATIONAL

MEDICAL GRADUATES

 

Corporation Information

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: | Active File Date: | 9/7/1999
| Type: NRS78 - Domestic Corporation Corp Number: | ©21961-1999
Qualifying State: | NV List of Officers Due: | 9/30/2005
Managed By: Expiration Date:
Foreign Name: On Admin Hold: | False
Resident Agent Information
Name: | VAL-U-CORP SERVICES, INC. Address 1: | 1802 NCARSON ST.
Address 2: | #212 City: | CARSON CITY
State: | NV Zip: | 89701
Phone Fax:
TE Email Mailing Address 1:
Mailing Address 2: Mailing City:
Mailing State: Mailing Zip:
Financial Information
No Par Share Count: 25,000.00 Capital Amount: | $0

 

No stock recoms found for this company

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Officers I Include Inactive Officers
President - THOMAS MOORE, MD
Address 1: | 1802 N CARSON ST STE 212 Address 2:
City: CARSON CITY State: NV
Zip: 89704 Country:
Status: | Active Email:
President - THOMAS MOORE, MD
Address 1: | 1802 N CARSON ST STE 212 Address 2:
City: | CARSON CITY State: | NV
Zip: | 89701 Country:
Status: | Historical Email:
| Treasurer - RACHAEL SILVER
Address 1: | 1802 N CARSON ST STE 212 Address 2:
City: | CARSON CITY State: | NV
Zip: | 89701 Country:
| Status: | Historical Email:
| Treasurer - RACHAEL SILVER
: Address 1: | 1802 N CARSON ST STE 212 Address 2:
City: | CARSON CITY State: | NV
Zip: 89701 Country:
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Corporation Details - Secretary of State, Nevada

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Secretary - SARAH WEINSTEIN

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Address 1: | 1802 N CARSON ST STE 212 Address 2:
City: | CARSON CITY State: | NV
Zip: 89701 Country:
Status: | Active Email: .
Secretary - SARAH WEINSTEIN
Address 1: | 1802 N CARSON ST STE 212 Address 2:
City: | CARSON CITY State: | NV
Zip: | 89701 Country:
Status: | Historical Email

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ActionsAmendments
Action Type: | Articles of Incorporation
Document Number: | C21961-1999-001 # of Pages:
File Date: | 09/07/1999 Effective Date:
(No Notes for this action)
Action Type: Amendment
Document Number: | C21961-1999-003 # of Pages: |
File Date: | 10/03/2000 Effective Date:
REINSTATED-REVOKED 8/1/00 GXH
Action Type: | Annual List a
Document Number: | C21961-1999-002 # of Pages:
File Date: | 09/21/2004 Effective Date:
List of Officers for 2004 to 2005

 

 

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Corporation Actions - Secretary of State, Nevada

  

Online Services” Schedule | Login

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Corporation Actions for "ASSOCIATION OF AMERICAN
INTERNATIONAL MEDICAL GRADUATES"

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1-3 of 3 actions

 

Actions\Amendments

 

Action Type: | Annual List

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Document Num ber: | C21961-1999-002 # of Pages: |1
a File Date: | 09/21/2004 Effective Date:
List of Oficers for 2004 to 2005
Action Type: Amendment
Document Num ber: | C21961-1999-003 # of Pages: |1
File Date: | 10/03/2000 Effe ctive Date:
REINSTATED REVOKED 8/1/00 GXH
Action Type: | Articles of Incorporation
Document Number. | C21 961-1999-001 # of Pages: | 2
File Date: | 09/07/1999 Effe ctive Da fe:

 

 

 

 

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Article 7

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Article 1

The Resident Agent of the corporation is Val-U-Corp Services, Inc. The address of the
Resident Agent where process may be served is:

1802 N. Carson St, Suite 212
Carson City, Nevada 89791

Article (7

  

Shares the corporation is authorized to issue is 25,000 shares with po par
& shall be non-aessessable.

 

Article [VY

The governing board of the corporation shall be styled as Directors. The First Board of

 

Directors shall consist of one (1) member whose name and address is listed as follows:
rane A. Kramer
2 N. Carson St, Svite 212
Carson City, Nevada la 8970)
Article ¥

“he purpose of ine corporation shall be general business and any legal activity.

Daniel A. Kramer
1e02 AM. Carson St, Sune 212
Carson City, Nevada 39701

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cadersigned, being the lncorparator hereinbefore named for the purpose oF
ition pursuant to General Corporation Law of the Siz 2 of Mevaila, de
-3e Articles of Incorporation, hereby declaring and certifying thai the

dare true, and accordingly kave hereunto set my hand this August 30,

  
  
 

 

Daniel A. Kramer
inecorporator

VICES, S Te Oe reo ry accept appointment as Resident Agent for the
5 August 30, 1999...

  
 
 

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Daniel A. Kramer
President
Case 2:05-cv-00848-BES-LRL Document 1-2 Filed 07/12/05 Page 16 of 25

 

 

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All Serious Medical Students Need
to Read the AAIMG "Words of Wisdom."

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The American Association of International Medical
Graduates. hereafter referred to as AAIMG, was founded
in 1992 as a non-profit organization to promote
acceptance of United States citizen international medical
graduates into mainstream American medical practice.

AAIMG recognizes that thousands of highly qualified U.S.
citizens are denied admission to medical school each year
and must study abroad. Current medical school admission
standards in the United States overemphasize the

importance of standardized tests and grade point average.

 

 

AAMIG recognizes that there are many qualities that go into the making of a
skilled, compassionate physician. The organization therefore does not define merit
solely on the basis of test scores and grades. We support the right of individuals
who are denied access to medical education in their own country to seek
professional satisfaction by studying medicine outside of the continental United
States.

AAIMG recognizes that there are layers of prejudice and cliscrimination that must
be overcome in order for American International Medical Graduates to gain fair
access to postgraduate training positions and professional employment
opportunities.

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e To serve as an accurate information source
for American citizens unable to gain
acceptance into medical schools in the
United States.

e To encourage training directors and
hospitals in the United States to provide
clerkship opportunities in the third and
fourth year to American citizens studying
medicine abroad.

 

 

e To promote equality of testing and evaluation of all International Medical
Graduates.

 

e To encourage residency training directors to give equal consideration to
qualified American International Medical Graduates for postgraduate training
positions.

e To promote equal treatment of International Medical Graduates by alll fifty
state licensing boards.

e To overcome prejudice in the mainstream American medical community and
society at large toward our citizens who study medicine abroad.

 

 

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Alarmed by the world wide proliferation of medical schools recruiting U.S. citizens,
in 1999 AAIMG launched a comprehensive study of Caribbean Basin medical
schools to assist prospective medical students with objective screening criteria and
evaluative data. Since that period, evaluations of medical schools catering to
American citizens in Mexico, Central America, the United Kingdom and Eastern
Europe have been completed in 2001 and 2003. The small number of schools in
the Pacific Basin are no longer operating according to the latest Word Health
Organization report.

Initially, the World Health Organization was contacted to
verify current listing of all schools in these regions. In
some cases, local governments were contact to determine
actual physical presence of the medical school and the
ability of graduates to be licensed in that country.
Marketing materials such as catalogs and web sites were
carefully analyzed. Telephone calls were made to
recruiting offices by “prospective” applicants with a
standard list of questions. In some cases, email
correspondence was initiated. Special attention was paid
to asking questions that would identify schools willing to
deviate from stated admission criteria, especially those
medical schools granting advanced standing to allied health care professionals.
Additional questions focused on distance learning components of the curriculum as
well as fulltime onsite attendance requirements at the basic science campus.

 

 

 

 

Site visits were made to admission offices by AAIMG members posing as
prospective applicants or as an applicant-parent team. “Applicants” visited each
basic science campus for tours and interviewed as many students, administrators
and faculty members as time constraints permitted. Directors of hospital Medical
Education departments and some preceptors were contacted to verify the medical
school affiliation and comment on the quality of the medical students in schools
under evaluation. An attempt was made to determine if the international medical
school made any liaison efforts with the clerkship site and made regular visits to
monitor student performance. Comprehensive data searches were conducted to
determine if schools in the study had any history of legal problems with state
licensing boards or loan groups. Any complaint or written material sent directly to
AAIMG indicating serious infractions was verified through original sources.

We are pleased to release the results of our third set of evaluations of medical

http://www. aaimg.com/evaluation/index.html (1 of 2) [4/21/2005 3:28:57 PM]
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schools located in the Caribbean Basin, Mexico, the United Kingdom anc
Central America. The Eastern European Report remains as a separate section.
The results represent expanded evaluation process and a list of deficiencies by
category and evaluation objective. A total of 24 medical schools with programs
admitting U.S. students were visited by our evaluation teams. Twelve medical
schools were identified as meeting or exceeding minimum criteria in all
evaluation categories, 12 were deficient. There are site visits pending for two
new schools in the United Kingdom.

AAIMG does not endorse any single school or program. It is purely an information
source to assist applicants in making informed, realistic choices. All prospective
medical students are urged to do their own investigation and draw their own
conclusions by making a personal visit to the medical admission office and the
basic science campus of any foreign school in their final selection pool. However,
it is the policy of AAIMG, however, to automatically place in the deficient
category any school granting advanced placement for course credit to allied
health professionals such as chiropractors, podiatrists, physician assistants
or nurse practitioners. Likewise, any school with significant distance
learning components as part of the curriculum or part-time attendance
requirements is placed in the deficient category.

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SECTION |. Admission/Recruiting
SECTION Practices

SECTION ||. Basic Science Curriculum [ee
SECTION Wl. Basic Science Campus

SECTION IV. Student Concerns
SECTION V Clinical Trainina | ‘cal Training P
SECTION . Clinical Training Program

 

Vil. Financial

VIIL Legal/Other

 

 

e There is an admission office with qualified staff in the United States or the
country of origin.

e A published current catalog must accurately represent the medical school
program, composition of the faculty, clerkship training sites and campus
facilities.

e Admission criteria for selecting students are clearly defined in the catalog.
The MCAT or a comparable exam should be required. School does nat
deviate from stated requirements.

e Pre-medical requirements consisting of essential liberal arts and science
courses are listed in the school catalog. No student is admitted with fewer
than 90 semester hours of undergraduate education or equivalent credits
from foreign countries.

e The application fee is a nominal amount. Students shouid not be required to
pay additional monies to receive scholarship information, loan applications,
or other types of consideration, or be required to pay a substantial fee to
reserve a seat.

e Adesignated admission committee follows a standardized evaluation and
interview process. Personal interviews of each applicant are highly desirable.
All applicants should be encouraged to visit the basic science campus.

e The medical school does not grant advanced placement to physician
assistants, chiropractors, podiatrists, nurse practitioners, or other applicants
with allied health backgrounds.

e Transfer students are vigorously screened for equivalent educational
standards. The medical school does not take students dismissed from other
medical schools for academic or disciplinary reasons.

e Entering classes are of a size compatible with facility size and size of the
faculty. There is sufficient classroom space and housing for all incoming
students.

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